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Exhibit 16
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

COLLEEN BERTHELOT, ET AL., © CIVIL ACTION
VERSUS oo NO. 05-4182
BOH BROTHERS CONSTRUCTION CO., SECTION "K"(2)
L.L.C., ET AL. CONS. KATRINA CANAL

PERTAINS TO:05-6323-Vanderbrook

ORDER AND REASONS

Before the Court is a Motion to Remand to State Court (Doc. 102) filed by Richard
Vanderbrook, Mary Jane Silva, James Capella, Sophia Granier, Jack Capella as the Executor. of the
Succession of Lilian Capella, Gregory Jackson, Peter Ascani, II and Robert G. Harvey, Sr.
("Plaintiffs") and a Motion to Sever (Doc. 103) filed by State Farm Fire and Casualty Company,
Unitrin Preferred Insurance Company, Hartford Insurance Company of the Midwest; The Standard
Fire Insurance Company and Hanover Insurance Company ("Insurer Defendants") which motions
were taken under advisement on the papers. This matter was removed by the Board of
Commissioners for the Orleans Levee District ("OLD") on December 2, 2005 based on federal
officer jurisdiction under 28 U.S.C. § 1442(a)(1) and on federal question jurisdiction under 28

US.C. § 1331. The Insurer Defendants’ joined in the removal relying ona number of legal theories

‘including the omnibus jurisdiction provided-under § 1442(a)(1) and diversity jurisdiction under 28

U.S.C. § 1332 contending that the claims against the Defendant Insurers were fraudulently and

improperly joined with the claims against OLD, the only non-diverse party.

‘As noted, these parties are State Farm Fire and Casualty Company, Unitrin Preferred Insurance Company
(improperly named as Kemper Insurance Company), Hartford Insurance Company of the Midwest (improperly
named as Hartford Insurance Company), The Standard Fire Insurance Company (improperly named as Travelers
Insurance Company and St. Paul Travelers Insurance Company) and Hanover Insurance Company ("the Insurers").
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As to the Insurers, Plaintiffs contend that they have refused to adjust or pay for a covered
loss as the water damage suffered by Plaintiffs was due to a sudden break in the concrete wall of
the levee outfall canal; that that loss is not described in any policies as an excluded loss; and, thus,

Insurers' denial of coverage is arbitrary and capricious entitling Plaintiffs to additional damages as

provided by statute. (Petition, 710). In addition, Plaintiffs contend that the insurance policies are

adhesion contracts such that the vague exclusion provisions contained in these policies are
unreasonably favorable to the Insurers rendering the exclusions void. (Petition, 11).
In the Court's decision rendered yesterday with respect to Robert Harvey, et al. v. The Board

of Commissioners for the Orleans Levee District, Parish of Orleans, C.A. No. 05-45468, the Court

_ set out in great detail the relationship between OLD and the Corps of Engineers ("the Corps"). The

Court will reiterate those findings herein:

. The Statutory Background of the Relationship between the Corps and
OLD a

The London Avenue and 17" Street Outfall Canals are components of the
National Flood Control Program authorized by Congress and implemented by the ..
Army Corps of Engineers. In October of 1965, Congress passed Public Law 89-298
authorizing “hurricane-flood protection on Lake Pontchartrain .. .in accordance with
- the recommendations of the Chief Engineers .. ..”. (OLD's Exhibit 1, at p.1077
(Public Law 89-298)). Public Law 102-104 was passed in 1991, instructing that:

. . .with the funds appropriated herein and hereafter for the Lake ©
Pontchartrain and Vicinity, Louisiana, Hurricane Protection project,

the Secretary of the Army, is authorized and directed to provide |
parallel hurricane protection along the entire lengths of the Orleans
Avenue and London Avenue Outfall Canals by raising levees and
improving flood protection works along and parallel to the entire
‘lengths of the outfall canals and other pertinent work necessary to
complete an entire parallel protection system and award continuing .
contracts for construction of this parallel protection. . .."-OLD's
Exhibit 2, at p.514 (Public Law 102-104)(emphasis added).

Congress, in 1992, enacted Public Law 102-377, which states: “the Secretary

of the Army, acting through the Chief of Engineers, is directed to incorporate

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parallel protection along the Orleans and London Avenue Outfall Canals into the
authorized Lake Pontchartrain and Vicinity, Louisiana, Hurricane Protection project
. ..(OLD's Exhibit 3, at p.1320 (Public Law 102-377)(emphasis added)). Public
Law 103-126 was promulgated in 1993, providing that “the Secretary of the Army,
acting through the Chief of Engineers, is directed to use $24,119,000 of the funds
appropriated herein to continue the Lake Pontchartrain and Vicinity, Louisiana,
Hurricane Protection project, including continued construction of parallel protection
along the Orleans and London Avenue Outfall Canals. . ..” (Exhibit 4, at p.1316
(Public Law 103-126)(emphasis added)).

Section701a-1 of Title 33 of United States Code which concerns flood control
by the United States mandates that “improvements of rivers and other waterways for
flood control and allied purposes shall be under the direction of the Secretary of
the Army and supervision of the Chief of Engineers . . ..”(emphasis added). 33
U.S.C. §701b specifies that “[f]ederal investigations and improvements of rivers and
other waterways for flood control and allied purposes shall be under the jurisdiction
of the Secretary of the Army and supervision of the Chief of Engineers.”
(Emphasis added).

In accordance with the above Congressional directives, the United States -
Army Corps of Engineers (hereinafter “Corps”) designed and installed the flood
walls for the London Avenue and 17" Street Outfall Canals. (OLD's Exhibit 5-
B(Excerpts from Design Memorandum 19A for London Avenue Outfall Canal);
OLD's Exhibit 5-C (Excerpts from Design Memorandum 20 for 17 Street Outfall
Canal). The Corps issued the specifications and bid packages for the construction
of the London Avenue and 17% Street Outfall Canals. (OLD'S Exhibit 5-E (Excerpts
from Corps’ Specifications and Solicitations for Bid on London Avenue Outfall
Canal); OLD's Exhibit 5-F (Excerpts from Corps’ Specifications and Solicitations
for Bid on 17" Street Outfall Canal)). These levees were built to withstand a
“Standard Project Hurricane” (hereinafter “SPH”) formulated by the Corps. (OLD's
Exhibit 5-D,; at p. xi (Excerpts from Design Memorandum Vol. 13). Any
maintenance performed by OLD on the levees was done under the supervision and
in accordance with regulations promulgated by the Corps. (OLD's Exhibit 5, at [16-7
(Spencer Affidavit); OLD's Exhibit 6, at 3 (Hearn Affidavit); 33 U.S.C. §701c
(providing that a state or political subdivision shall assure that it will “maintain and
operate all works after completion in accordance with the regulations prescribed by
the Secretary of the Army.”). The relevant regulations for maintenance can n be
found at 33 C.F.R .208.10.

33 U.S.C. §701c provides, in pertinent part, that | a state or political
subdivision shall assure that it will “maintain and operate all works after completion
in accordance with the regulations prescribed by the Secretary of the Army.” 33
C.F.R. 208.10 further provides instructions on how OLD is to maintain the flood
control structures under the Corps’ jurisdiction. This provision i instructs OLD to
make sure there is:

(I) No unusual settlement, sloughing or material loss . . .; (ii) No

caving has occurred . . .; (iii) No seepage, saturated areas, or sand

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boils are occurring; (iv) Toe drainage systems and pressure relief
wells are in good working condition . . .; (v) Drains through the
levees and gates on said drains are in good working condition; (vi)
No revetment work or riprap has been displaced, washed out, or
removed; (vii) No action is being taken . . . which will retard or
destroy the growth of sod; (viii) Access roads to and on the levee are
being properly maintained; (ix) Cattle guards and gates are in good
condition; (x) Crown of levee is... well shaped and maintained; (xi)
There is no unauthorized grazing or vehicular traffic on the levees;
(xii) Encroachments are not being made on the levee right-of-way
which might endanger the structure or hinder it proper and efficient
functioning during times of emergency.

33 C.F.R. 208.10(b)(1)()-(xii). | This federal regulation mandates that the
inspections “shall be made immediately prior to the beginning of flood season;
immediately following-each major high water period, and otherwise at intervals not
exceeding 90 days....” 33 C.F.R 208.10(b)(1). Further, it requires that the Corps
“furnish local interests with an Operation and Maintenance Manual for. each.
completed project. . ..” 33 C.F.R 208.10(a)(10). OLD also contends that "detailed
guidance for state agencies relating to operating federal flood control structures
including specific inspection, reporting and maintenance procedures is set forth in
the Corps’ “Operations and Maintenance Manual.” No copy of these "detailed
instructions" have been provided to the Court. 33 C.F.R 208.10.

Federal law mandates that “improvements of rivers and other waterways for
flood control and.allied purposes shall be under the direction of the Secretary of
the Army and supervision of the Chief of Engineers . . ..”33 U.S.C. §701a-1
(emphasis added). Federal law further specifies that “[flederal investigations and
improvements of rivers and other waterways for flood control and allied purposes
shall be under the jurisdiction of the Secretary of the Army and supervision of
the Chief of Engineers.”33 U.S.C. §701b (emphasis added). Federal law even
prohibits OLD from initiating any flood control project without prior federal
approval. 33 U.S.C. §701 b-13.

Contracts Between the Corps of Engineers and OLD and Hearn Affidavit

Given that background, as detailed by OLD in its own filings, the Court has
also reviewed the relevant contracts upon which OLD bases its removal and the
affidavits of Max L. Hearn, the Executive Director of the Board of the
Commissioners of OLD (OLD's Exhibit 6) accompanying those documents and of

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